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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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12   LENDLEASE (US) CONSTRUCTION            No. 2:20-cv-10738-JAK (MAAx)
     INC.,
13                                          JUDGMENT
                      Petitioner,
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           v.
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     CHINA OCEANWIDE HOLDINGS
16   LIMITED,
17                    Respondent.
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 1   Judgment is entered in favor of Lendlease (US) Construction Inc. (“Lendlease”)
 2   and against China Oceanwide Holdings Limited (“China Oceanwide”) in the
 3   amount of $42,657,373.95, which is comprised of:
 4               A. The principal amount of $38,440,000.00;
 5               B. Pre-judgment interest calculated at $1,746,849.81 through
 6               November 12, 2020;
 7               C. Pre-judgment interest at the rate of $10,351.51 per day commencing
 8               on November 13, 2020 and continuing through the day before the date
 9               of entry of judgment, in an amount to be calculated by the Court
10               totaling $2,308,386.73;
11               D. Attorneys’ fees incurred and awarded in the arbitration in the
12               amount of $141,412.16; and
13               E. Administrative fees incurred and awarded in the arbitration in the
14               amount of $20,725.25, all in accordance with the Final Arbitration
15               Award of the American Arbitration Association, dated November 24,
16               2020.
17   Lendlease shall also recover against China Oceanwide post-judgment interest
18   calculated pursuant to 28 U.S.C. § 1961 at a rate of .08% per annum commencing
19   on the date of entry of judgment and computed daily to the date of payment.
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21   IT IS SO ORDERED AND ADJUDGED.
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24   Dated: _____________________
              June 24, 2021                      ____________________________
                                                 John A. Kronstadt
25                                               United States District Judge
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